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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 QUENDALLYN MICKELWAIT f/k/a                       )
 Wendy Mickelwait,                                 )
                                                   )
                        Plaintiff,                 )      Case No.
         v.                                        )
                                                   )
 CAVALRY SPV I, LLC and THE LAW                    )
 OFFICE OF KEITH S. SHINDLER,                      )      JURY TRIAL DEMANDED
 LTD., a/k/a SHINDLER AND JOYCE,                   )
 a/k/a THE SHINDLER LAW FIRM,                      )
                                                   )
                        Defendants.                )

                                           COMPLAINT

       Plaintiff QUENDALLYN MICKELWAIT a/k/a Wendy Mickelwait, through undersigned

counsel, brings this complaint against Defendants CAVALRY SPV I, LLC and THE LAW

OFFICE OF KEITH S. SHINDLER, LTD., a/k/a SHINDLER AND JOYCE a/k/a THE

SHINDLER LAW FIRM, and alleges as follows:

                                      NATURE OF THE ACTION

       1.      Plaintiff brings this action for damages for violations of the Fair Debt Collection

Practices Act (the “FDCPA”).

       2.      The claims stated herein stem from Defendants’ wrongful debt collection

activities on an alleged consumer debt, including filing a false affidavit in a collection action,

and seeking to collect nearly double the original creditor’s charge-off amount.

                                     JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §§

1331 and 1337, and 15 U.S.C. § 1692k (FDCPA).




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        4.      Venue is proper in this District under 28 U.S.C. § 1391, as the events complained

of occurred in this District.

                                               PARTIES

        5.      Plaintiff Quendallyn Mickelwait is a natural person and resident of Illinois, and

from whom Defendants attempted to collect an allegedly defaulted credit account with

Synchrony Bank/Care Credit.

        6.      Plaintiff is a “consumer” as defined by Section 1692a(3) of the FDCPA.

        7.      Defendant, Cavalry SPV I, LLC (“Cavalry”) is a Delaware limited liability

company with its principal place of business in Valhalla, New York.

        8.      Cavalry does business in the State of Illinois, including in this District.

        9.      Cavalry is a debt collector as that term is defined in Section 1692a(6) of the

FDCPA because it uses the mails and telephone in its business, the principal purpose of which is

the collection of consumer debts.

        10.     Cavalry is also a debt buyer that specializes in buying large portfolios of defaulted

consumer debts for pennies on the dollar, the full amount of which it then tries to collect for

itself and through other debt collectors.

        11.     Defendant The Law Office of Keith S. Shindler, Ltd., a/k/a Shindler and Joyce,

a/k/a The Shindler Firm (“Shindler”), is a law firm organized as an Illinois corporation with its

principal place of business in Schaumburg, Illinois.

        12.     Shindler does business in the State of Illinois, including in this District.

        13.     Shindler is a debt collection law firm and it regularly collects consumer debts on

behalf of Cavalry.

        14.     Shindler is a debt collector as that term is defined in Section 1692a(6) of the

FDCPA because it uses the mails and telephone in its business, the principal purpose of which is
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the collection of consumer debts, and because it regularly attempts to collect debts owed or due

or asserted to be owed or due another.

                                FACTS SUPPORTING THE ACTION

          15.   Most of the debts that Defendants Shindler and Cavalry seek to collect are

delinquent revolving credit accounts, usually in the form of credit cards or similar accounts,

formerly held by banks.

          16.   Defendant Cavalry often purchases, or claims to purchase, revolving credit

account debts from banks months or years after the bank has charged off the debts.

          17.   Standard form revolving credit account agreements used by banks provide that the

terms of the agreement can be changed from time to time, and that changes beneficial to the

consumer such as a reduction in, or waiver of, interest may be effected immediately and without

notice.

          18.   A “charge off” is when the credit account receivable is no longer carried on the

bank’s books as an asset. Under federal regulations, a bank must charge off a credit card

receivable after is has been delinquent 180 days, though it may charge off sooner. Federal

Financial Institutions Examination Council, Uniform Retail Credit Classification and Account

Management Policy, 65 FR 36903 (June 12, 2000).

          19.   As a standard practice, and for a variety of sound business reasons, banks may

waive certain fees or other charges on a debt at the time of charge off.

          20.   Among other reasons for this practice, banks do not want to increase the amount

of bad debts carried on their books because banking regulations require that the amount of a

charged-off debt be counted against the bank’s reserve funds as a loss. See id.




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         21.   In addition, and also as a standard practice and for a variety of sound business

reasons, most banks waive interest on credit card debts and similar revolving account debts after

charge off for as long as the debts are held by the banks.

         22.   Among other reasons for this practice, 12 C.F.R. § 226.5(b)(2) requires banks to

send periodic statements on all accounts, including defaulted accounts, for any period during

which interest or fees are added to the account. 2 C.F.R.§226.5(b)(2)(I) (“A periodic statement

need not be sent for an account if the creditor deems it uncollectible, if delinquency collection

proceedings have been instituted, if the creditor has charged off the account in accordance with

loan-loss provisions and will not charge any additional fees or interest on the account. . . .”).

Banks generally prefer to waive the interest and fees to save the expense of preparing and

sending statements.

         23.   On November 6, 2017, Shindler, on behalf of Cavalry, filed a collection action

against Plaintiff in the Circuit Court of Cook County, styled as Cavalry SPV I, LLC v. Wendy

Mickelwait, case number 2017-M1-130810 (the “collection action”).

         24.   The collection action sought to collect a purported revolving account debt

originally owed to Synchrony Bank/Care Credit and, on information and belief, incurred for

personal, family, or household purposes (the “alleged debt”).

         25.   Plaintiff does not owe and has never owed the alleged debt.

         26.   The complaint claimed that the amount of the alleged debt was $2,249.10.

         27.   Synchrony Bank/Care Credit charged off the alleged debt in or around September

2014.

         28.   On information and belief, at charge off Synchrony Bank/Care Credit reversed a

number of accrued fees and other charges.



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       29.     The amount of the alleged debt at charge off was $2,000.00.

       30.     Synchrony Bank/Care Credit reported this $2,000.00 charge-off amount to

Equifax on November 24, 2014. See Exhibit A, redacted pages from Plaintiff’s Equifax credit

report dated February 27, 2018.

       31.     On information and belief, Synchrony Bank/Care Credit did not send any billing

statements to Plaintiff after it charged off the account.

       32.     Plaintiff did not receive any billing statements from Synchrony Bank/Care Credit

after it charged off the account.

       33.     According to documents attached to the collection action complaint, Synchrony

Bank/Care Credit sold the alleged debt to Cavalry on or about October 29, 2014.

       34.     On information and belief, when Synchrony Bank/Care Credit allegedly sold the

alleged debt to Cavalry, the amount of the alleged debt was $2,000.00, the same amount as when

the account was charged off, and the same amount that Synchrony Bank/Care Credit reported to

Equifax on November 24, 2014—after the sale to Cavalry.

       35.     Between the date the account was charged off and the date Synchrony Bank/Care

Credit sold the alleged debt to Cavalry, Synchrony Bank/Care Credit waived all interest and

finance charges on the account, as well as additional fees and other charges that would otherwise

have accrued on the account.

       36.     After Cavalry purchased the alleged debt, it added back onto the account balance

the interest, finance charges, and additional fees and other charges that Synchrony Bank/ Care

Credit had previously waived.

       37.     Serving the complaint and summons upon Plaintiff’s was a communication

directed to Plaintiff, by Cavalry and Shindler, representing that Cavalry had the right to collect



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the alleged debt from Plaintiff, and that Cavalry was entitled to add the interest, finance charges,

additional fees, and other charges that Synchrony Bank/Care Credit had previously waived.

         38.   Adding these amounts to the alleged debt is improper. An assignee steps into the

shoes of the assignor as of the date the assignor sells the account, and has no right to

retroactively reverse the assignor’s business decision to waive interest or any fees or charges

during a period when the assignee did not hold the account. “The rule is that an assignee of a

contract takes it subject to the defenses which existed against the assignor at the time of

assignment.” Allis-Chalmers Credit Corp. v. McCormick, 30 Ill.App.3d 423, 424 (4th Dist.

1975).

         39.   Upon learning of the collection action, Plaintiff became distressed because

Defendants were trying collect a debt from her that she did not owe.

         40.   Plaintiff was thereafter forced to hire a lawyer to assist her with Defendants’

wrongful collection action.

         41.   The false statements by Cavalry and Shindler regarding Plaintiff’s liability for the

alleged debt and the amount allegedly owed on the alleged debt were made in connection with

the collection of the alleged debt from Plaintiff.

         42.   Making such false statements was a coercive act calculated to trick Plaintiff into

believing that she owed the alleged debt, and to collect more than Cavalry was entitled to collect

on the alleged debt.

         43.   As a debt collector, Cavalry may be held vicariously liable for Shindler’s

violation of the FDCPA.




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       44.     Plaintiff suffered damages proximately caused by Defendants’ misconduct,

including but not limited to emotional distress, anxiety, fear, embarrassment, aggravation, wasted

time, and inconvenience.

       45.     Plaintiff suffered an infection shortly after being served with the collection action

complaint and summons. Due to the emotional distress and lack of sleep caused by Defendants’

misconduct, Plaintiff’s infection worsened, and she was admitted to the hospital for treatment.

                            COUNT I – VIOLATIONS OF THE FDCPA
                                     (ALL DEFENDANTS)

       46.     Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.

       47.     § 1692e of the FDCPA states in relevant part that a debt collector, “may not use

any false, deceptive, or misleading representation or means in connection with the collection of

any debt.”

       48.     Defendants made false, deceptive and misleading representations in connection

with the collection of a debt, in violation of § 1692e by means of the complaint and summons

served on Plaintiff.

       49.     Defendants violated § 1692e by claiming that Plaintiff owed the alleged debt,

when she did not owe the alleged debt.

       50.     Defendants violated § 1692e by seeking to $2,249.10 in the collection action

when the enforceable amount of the alleged debt was only $2,000.00.

       51.     § 1692e(2)(A) of the FDCPA prohibits false representation of “the character,

amount, or legal status of any debt.”

       52.     Defendants violated § 1692e(2)(A) by representing in the collection action that

Plaintiff was legally liable for the alleged debt when she was not.




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       53.      Defendants violated § 1692e(2)(A) by representing in the collection action that

the amount of alleged debt was $2,249.10 when it was really, at most, $2,000.00.

       54.      § 1692e(10) prohibits “use of any false representations or deceptive means to

collect or attempt to collect any debt or to obtain information concerning a consumer.”

       55.      Defendants violated § 1692e(10) by falsely representing in the collection action

that Plaintiff owed the alleged debt when she did not.

       56.      Defendants violated § 1692e(10) by falsely representing in the collection action

that the amount of alleged debt was $2,249.10 when it was really, at most, $2,000.00.

       57.      § 1692f of the FDCPA states in relevant part that “[a] debt collector may not use

unfair or unconscionable means to collect or attempt to collect any debt.”

       58.      Defendants violated § 1692f by suing Plaintiff to collect the alleged debt when

Plaintiff did not owe the alleged debt.

       59.      Defendants violated § 1692f by adding on fees and other charges to the alleged

debt that the original creditor had waived, which is unfair and unconscionable.

       60.      § 1692f(1) of the FDCPA prohibits “collection of any amount (including any

interest, fee, charge, or expense incidental to the principal obligation) unless such amount is

expressly authorized by the agreement creating the debt or permitted by law.”

       61.      Defendants violated § 1692f(1) of the FDCPA by seeking to collect $2,249.10,

which amount was not expressly authorized by any agreement or permitted by law.

       62.      As a result of the foregoing violations of the FDCPA, Plaintiff is entitled to an

award of actual damages, statutory damages, costs, and reasonable attorney fees.

       WHEREFORE, Plaintiff requests that this Honorable Court:

             a. grant judgment in Plaintiff’s favor against Defendants;



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           b. award Plaintiff statutory and actual damages in an amount to be determined at
              trial;

           c. award Plaintiff reasonable attorneys’ fees and costs pursuant to Section 1692k of
              the FDCPA; and

           d. award any other relief this Honorable Court deems equitable and just.

                                Plaintiff Demands Trial by Jury.

                                                      Respectfully Submitted,

                                                      /s/ Daniel Brown
                                                      Daniel Brown (ARDC # 6299184)
                                                      The Law Office of Daniel Brown
                                                      208 S. Jefferson St., Suite 204
                                                      Chicago, IL 60661
                                                      (773) 453-7410
                                                      daniel@mainstreetattorney.com

                                                      Attorney for Plaintiff

                          DOCUMENT PRESERVATION DEMAND

Plaintiff hereby demands that all Defendants take affirmative steps to preserve all recordings,
data, documents, and all other tangible things that relate to Plaintiff, the events described herein,
any third party associated with any telephone call, campaign, account, sale or file associated with
Plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of Plaintiff’s claims. If any Defendant is aware of any third party that
has possession, custody, or control of any such materials, Plaintiff demands that such Defendant
request that such third party also take steps to preserve the materials. This demand shall not
narrow the scope of any independent document preservation duties of any Defendant.

By: /s/ Daniel Brown
    Daniel Brown


                           NOTICE OF LIEN AND ASSIGNMENT

Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount as a
court awards. All rights relating to attorneys’ fees have been assigned to counsel.

By: /s/ Daniel Brown
    Daniel Brown




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